UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

UNITED STATES
v. : Case No. 16-CR-0067 (HEH)
MAX ALBERTO ESTRADA LINARES :

Defendant

DEFENDANT’S POSITION IN AID OF SENTENCING

EXHIBIT 1

DEFENDANT MAX ES”.:`RADA
LINARES’ LETTER TO TP * COURT
IN A OF SENTENC:NG

 

 

 

 

 

 

 

 

0ctober 18 2018
Dear Honorable jude Hudson

l am writing this letter to explain the circumstances of my being here for sentencing
l want your honor to know that l pled guilty in this case because l was guilty. The
government’s evidence against me is the truth and I want to admit my complete
guilt before your honor.

l imagine that almost everyone before your honor for his sentence explains how
sorry he is for what he has done. l am sorry also and I am trying to say more than
just words. Since before l arrived in the US l directed my attorney to tell the
government that l would plead guilty to see if there was anything before l arrive.

l believe that my lawyer has explained to you that l permitted the DEA to search my
computer and phones and then l gave them a USB With other important information.

judge Hudson l am here in the United States and my family, which is my wife and
four daughters are still in Guatemala, l am scared for them and their safety and l
know it is my fault that there are threats against them. l am worried about my
daughters all the time and miss them With all my heart and l have guilt because it is
my errors that have made them unsafe. As your honor may know, people in the drug
trafficking business take advantage of situations like this, and l am not there to
protect them.

l want to write my appreciation for the prosecutor and agents in my case. They have
been always honest with me and l have given then the same in return. l know from
talking to my lawyer that are complicated my rules about sentencing in the United
States. When l pled guilty before your honor l agreed with the government about
whatl had done.

l arn asking the court to consider giving me the lowest sentence possible in my
guidelines Even with that small mercy, it will still be many years before l return
back to my Wife and children. l need to say that I am sorry to the people of the
United States. Being in jail here has opened my eyes to the problems thatl caused. l
am a religious man and l take an oath before God that l would never, ever be
involved in drug trafficking again. When I return to my country l Will wash floors,
clean dishes, and bathrooms, or any real job l can find to support family and myself.

MAX ALBERTO ESTRADA LINARES

  

  
 
   

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